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(3/15)


                               UNITED STATES DISTRICT COURT
                                                              for
                                             Eastern District of Washington


U.S.A. vs.                        Myrick, Tracy                           Docket No.          0980 2:16CR00080-RMP-1


                                  Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant Tracy Myrick, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge, Mary K. Dimke, sitting in the Court at Spokane, Washington, on the 14th day of April 2016 under the following
conditions:

Special Condition #13: Defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis
testing as directed by the Pretrial Services Office, but no more than six tests per month.

Special Condition #16: Defendant shall be restricted to his residence at all times except for: attorney visits; court
appearances; case-related matters; court-ordered obligations; substance abuse testing or treatment; or other activities as pre-
approved by the Pretrial Services Office.

Special Condition #17: The Defendant shall participate in a program of electronically monitored home confinement. The
Defendant shall wear, at all times, an electronic monitoring device under the supervision of U.S. Pretrial Services. In the
event the Defendant does not respond to electronic monitoring or cannot be found, the U.S. Pretrial Services Office shall
notify the United States Marshals’ Service, who shall immediately find, arrest, and detain the Defendant. The Defendant
shall pay all or part of the cost of the program based upon ability pay as determined by the U.S. Pretrial Services Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant failed to report for random drug testing, on June 28, 2016.

Violation #2: The defendant left his residence without prior approval from the U.S. Probation Office, on April 19, 2016.

Violation #3: The defendant arrived late for his authorized time out of his residence, on June 17, 2016.

Violation #4: The defendant left his residence without prior approval from the U.S. Probation Office, on June 29, 2016.

Violation #5: The defendant arrived late for his authorized time out of his residence, on July 8, 2016.

                   PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       July 19, 2016
                                                                    by      s/Erik Carlson
                                                                            Erik Carlson
                                                                            U.S. Pretrial Services Officer
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THE COURT ORDERS

[ X]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer
                                                                               July 20, 2016

                                                                      Date
